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 6
 7                          IN THE UNITED STATES DISTRICT COURT
 8                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,       ) No. 2:08-CR-00212-LKK
                                     )
11                  Plaintiff,       )
                                     ) ORDER AFTER HEARING
12        v.                         )
                                     )
13   MIGUEL EDWARDO VASQUEZ et al., ) Judge: Hon. Lawrence K. Karlton
                                     )
14                  Defendants.      )
     _______________________________ )
15
16        At the status conference held on September 23, 2008, all parties
17   were present and represented by counsel, except defendants Rene Lee
18   Wright    and   Rhiannon   Rochelle    Wright   not   present   due   to   wavier   of
19   appearance.      The Court granted the parties’ request for additional time
20   to prepare and scheduled a further status conference as to all defendants
21   for Tuesday, December 16, 2008 at 9:15 a.m.               The Court ordered time
22   excluded from September 23, 2008 through and including December 16, 2008
23   pursuant to 18 U.S.C. § 3161(h)(8)(A) and (B)(ii)(iv) (Local Code T2, T4)
24   in light of the ongoing complexity of the case.
25        IT IS SO ORDERED.
26   DATED: September 25, 2008
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